            Case 5:20-cv-00966-OLG Document 1 Filed 08/18/20 Page 1 of 16




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

RYAN PFLIPSEN,              )
                            )
       Plaintiff,           )
                            )                      CIVIL ACTION
vs.                         )
                            )                      FILE No. 5:20-cv-966
BABCOCK SA INCOME PARTNERS, )
L.P. d/b/a BABCOCK NORTH,   )
                            )
       Defendant.           )

                                       COMPLAINT

       COMES NOW, RYAN PFLIPSEN, by and through the undersigned counsel, and

files this, his Complaint against Defendant BABCOCK SA INCOME PARTNERS, L.P.

d/b/a BABCOCK NORTH, pursuant to the Americans with Disabilities Act, 42 U.S.C. §

12181 et seq. (“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36

(“ADAAG”). In support thereof, Plaintiff respectfully shows this Court as follows:

                                      JURISDICTION

       1.       This Court has original jurisdiction over the action pursuant to 28 U.S.C. §§

1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et seq., based upon

Defendant’s failure to remove physical barriers to access and violations of Title III of the

ADA.

                                          PARTIES

       2.       Plaintiff RYAN PFLIPSEN (hereinafter “Plaintiff”) is, and has been at all

times relevant to the instant matter, a natural person residing in San Antonio, Texas


                                              1
            Case 5:20-cv-00966-OLG Document 1 Filed 08/18/20 Page 2 of 16




(Bexar County).

       3.       Plaintiff is disabled as defined by the ADA.

       4.       Plaintiff is required to traverse in a wheelchair and is substantially limited

in performing one or more major life activities, including but not limited to: walking,

standing, grabbing, grasping and/or pinching.

       5.       Plaintiff uses a wheelchair for mobility purposes.

       6.       Plaintiff is also an independent advocate of the rights of similarly situated

disabled persons and is a “tester” for the purpose of asserting his civil rights, monitoring,

ensuring, and determining whether places of public accommodation are in compliance

with the ADA. His motivation to return to a location, in part, stems from a desire to

utilize ADA litigation to make Plaintiff’s community more accessible for Plaintiff and

others, and pledges to do whatever is necessary to create the requisite standing to confer

jurisdiction upon this Court so an injunction can be issued correcting the numerous ADA

violations on this Property, including returning to the Property as soon as it is accessible

(“Advocacy Purposes”).”

       7.       Defendant BABCOCK SA INCOME PARTNERS, L.P. d/b/a BABCOCK

NORTH (hereinafter “BABCOCK NORTH”) is a Texas for profit limited liability

company that transacts business in the state of Texas and within this judicial district.

       8.       BABCOCK NORTH may be properly served with process via its registered

agent for service, to wit: J. Bradley Greenblum, 3345 Bee Cave Road, Suite 208, Austin,

Texas 78746.

                                FACTUAL ALLEGATIONS

                                               2
            Case 5:20-cv-00966-OLG Document 1 Filed 08/18/20 Page 3 of 16




       9.       On or about August 12, 2020, Plaintiff was a customer at “Subway” a

business located at 8830 Huebner Road, San Antonio, Texas 78240, referenced herein as

the “Subway.”

       10.      BABCOCK NORTH is the owner or co-owner of the real property and

improvements that the Subway is situated upon and that is the subject of this action,

referenced herein as the “Property.”

       11.      Plaintiff lives approximately 7 miles from the Subway and Property.

       12.      Plaintiff’s access to the business(es) located at 8830 Huebner Road, San

Antonio, Bexar County Property Identification number 558035 (“the Property”), and/or

full and equal enjoyment of the goods, services, foods, drinks, facilities, privileges,

advantages and/or accommodations offered therein were denied and/or limited because of

his disabilities, and he will be denied and/or limited in the future unless and until

Defendant is compelled to remove the physical barriers to access and correct the ADA

violations that exist at the Subway and Property, including those set forth in this

Complaint.

       13.      Plaintiff has visited the Property at least once before as a customer and

advocate for the disabled. Plaintiff intends on revisiting the Property within six months

or sooner, as soon as the barriers to access detailed in this Complaint are removed and the

Property is accessible again. The purpose of the revisit is to be a regular customer, to

determine if and when the Property is made accessible and to maintain standing for this

lawsuit for Advocacy Purposes.

       14.      Plaintiff intends to revisit the Subway and Property to purchase goods

                                             3
         Case 5:20-cv-00966-OLG Document 1 Filed 08/18/20 Page 4 of 16




and/or services.

       15.     Plaintiff travelled to the Subway and Property as a customer and as an

independent advocate for the disabled, encountered the barriers to access at the Subway

and Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result of the

illegal barriers to access present at the Subway and Property.


                                  COUNT I
                      VIOLATIONS OF THE ADA AND ADAAG

       16.     On July 26, 1990, Congress enacted the Americans with Disabilities Act 42

U.S.C. § 12101 et seq.

       17.     Congress found, among other things, that:

       (i)     some 43,000,000 Americans have one or more physical or mental
               disabilities, and this number is increasing as the population as a
               whole is growing older;

       (ii)    historically, society has tended to isolate and segregate individuals
               with disabilities, and, despite some improvements, such forms of
               discrimination against individuals with disabilities continue to be a
               serious and pervasive social problem;

       (iii)   discrimination against individuals with disabilities persists in such
               critical areas as employment, housing public accommodations,
               education,        transportation,    communication,        recreation,
               institutionalization, health services, voting, and access to public
               services;

       (iv)    individuals with disabilities continually encounter various forms of
               discrimination, including outright intentional exclusion, the
               discriminatory effects of architectural, transportation, and
               communication barriers, overprotective rules and policies, failure to
               make modifications to existing facilities and practices, exclusionary
               qualification standards and criteria, segregation, and relegation to

                                             4
         Case 5:20-cv-00966-OLG Document 1 Filed 08/18/20 Page 5 of 16




              lesser service, programs, activities, benefits, jobs, or other
              opportunities; and

       (v)    the continuing existence of unfair and unnecessary discrimination
              and prejudice denies people with disabilities the opportunity to
              compete on an equal basis and to pursue those opportunities for
              which our free society is justifiably famous, and costs the United
              States billions of dollars in unnecessary expenses resulting from
              dependency and non-productivity.

42 U.S.C. § 12101(a)(1) - (3), (5) and (9).

       18.    Congress explicitly stated that the purpose of the ADA was to:

       (i)    provide a clear and comprehensive national mandate for the
              elimination of discrimination against individuals with disabilities;

       (ii)   provide a clear, strong, consistent, enforceable standards addressing
              discrimination against individuals with disabilities; and

              *****

       (iv)   invoke the sweep of congressional authority, including the power to
              enforce the fourteenth amendment and to regulate commerce, in
              order to address the major areas of discrimination faced day-to-day
              by people with disabilities.

42 U.S.C. § 12101(b)(1)(2) and (4).

       19.    The congressional legislation provided places of public accommodation

one and a half years from the enactment of the ADA to implement its requirements.

       20.    The effective date of Title III of the ADA was January 26, 1992 (or January

26, 1993 if a defendant has 10 or fewer employees and gross receipts of $500,000 or

less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

       21.    The Subway is a public accommodation and service establishment.

       22.    The Property is a public accommodation and service establishment.


                                              5
         Case 5:20-cv-00966-OLG Document 1 Filed 08/18/20 Page 6 of 16




       23.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991, the

Department of Justice and Office of Attorney General promulgated federal regulations to

implement the requirements of the ADA. 28 C.F.R. Part 36.

       24.    Public accommodations were required to conform to these regulations by

January 26, 1992 (or by January 26, 1993 if a defendant has 10 or fewer employees and

gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28 C.F.R. § 36.508(a).

       25.    The Subway must be, but is not, in compliance with the ADA and

ADAAG.

       26.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

       27.    Plaintiff has attempted to, and has to the extent possible, accessed the

Subway and the Property in his capacity as a customer of the Subway and Property and as

an independent advocate for the disabled, but could not fully do so because of his

disabilities resulting from the physical barriers to access, dangerous conditions and ADA

violations that exist at the Subway and Property that preclude and/or limit his access to

the Subway and Property and/or the goods, services, facilities, privileges, advantages

and/or accommodations offered therein, including those barriers, conditions and ADA

violations more specifically set forth in this Complaint.

       28.    Plaintiff intends to visit the Subway and Property again in the very near

future as a customer in order to utilize all of the goods, services, facilities, privileges,

advantages and/or accommodations commonly offered at the Subway and Property and

as an independent advocate for the disabled, but will be unable to fully do so because of

                                             6
          Case 5:20-cv-00966-OLG Document 1 Filed 08/18/20 Page 7 of 16




his disability and the physical barriers to access, dangerous conditions and ADA

violations that exist at the Subway and Property that preclude and/or limit his access to

the Subway and Property and/or the goods, services, facilities, privileges, advantages

and/or accommodations offered therein, including those barriers, conditions and ADA

violations more specifically set forth in this Complaint.

       29.      Defendant has discriminated against Plaintiff (and others with disabilities)

by denying his access to, and full and equal enjoyment of the goods, services, facilities,

privileges, advantages and/or accommodations of the Subway and Property, as prohibited

by, and by failing to remove architectural barriers as required by, 42 U.S.C. §

12182(b)(2)(A)(iv).

       30.      Defendant will continue to discriminate against Plaintiff and others with

disabilities unless and until Defendant is compelled to remove all physical barriers that

exist at the Subway and Property, including those specifically set forth herein, and make

the Subway and Property accessible to and usable by Plaintiff and other persons with

disabilities.

       31.      A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Subway and Property and the full and equal enjoyment of

the goods, services, facilities, privileges, advantages and accommodations of the Subway

and Property include, but are not limited to:

       (a)      ACCESSIBLE ELEMENTS:



                                                7
  Case 5:20-cv-00966-OLG Document 1 Filed 08/18/20 Page 8 of 16




(i) Near Wells Fargo, the access aisle to the accessible parking space is not level

    due to the presence of an accessible ramp in the access aisle in violation of

    section 502.4 of the 2010 ADAAG standards. This violation would make it

    dangerous and difficult for Plaintiff to exit and enter their vehicle while parked

    at the Property.

(ii) Near Wells Fargo, the accessible curb ramp is improperly protruding into the

    access aisle of the accessible parking space in violation of section 406.5 of the

    2010 ADAAG Standards.            This violation would make it difficult and

    dangerous for Plaintiff to exit/enter their vehicle.

(iii)   Near Wells Fargo, the accessible parking space is missing a proper

    identification sign in violation of section 502.6 of the 2010 ADAAG standards.

    This violation would make it difficult for Plaintiff to locate an accessible

    parking space.

(iv)    Near Wells Fargo, due to a policy of not enacting an effective maintenance

    plan, there are significant amounts of mud and dirt in the access aisle of the

    accessible parking space. As a result, the ground surfaces of the access aisle

    have vertical rises in excess of ¼ (one quarter) inch in height, are not stable or

    slip resistant, have broken or unstable surfaces or otherwise fail to comply with

    Section 302, 303 and 502.4 of the 2010 ADAAG standards. This violation

    would make it dangerous and difficult for Plaintiff to access the units of the

    Property.



                                        8
  Case 5:20-cv-00966-OLG Document 1 Filed 08/18/20 Page 9 of 16




(v) Near Wells Fargo, the Property has an accessible ramp leading from the

    accessible parking space to the accessible entrances with a slope exceeding

    1:12 in violation of section 405.2 of the 2010 ADAAG standards. This

    violation would make it dangerous and difficult for Plaintiff to access the units

    of the Property.

(vi)    Near Wells Fargo, the Property has an accessible ramp that lacks finished

    edges or edge protection and/or is otherwise in violation of section 405.9 of the

    2010 ADAAG standards. This violation would make it difficult for Plaintiff to

    access the units of the Property.

(vii)   Near Unit 8800, the accessible parking space and associated access aisle

    have a slope in excess of 1:48 in violation of section 502.4 of the 2010

    ADAAG standards and are not level. This violation would make it dangerous

    and difficult for Plaintiff to exit and enter their vehicle while parked at the

    Property.

(viii) Near Unit 8800, the access aisle to the accessible parking space is not level

    due to the presence of an accessible ramp in the access aisle in violation of

    section 502.4 of the 2010 ADAAG standards. This violation would make it

    dangerous and difficult for Plaintiff to exit and enter their vehicle while parked

    at the Property.

(ix)    Near Unit 8800, the accessible curb ramp is improperly protruding into the

    access aisle of the accessible parking space in violation of section 406.5 of the



                                        9
 Case 5:20-cv-00966-OLG Document 1 Filed 08/18/20 Page 10 of 16




    2010 ADAAG Standards.            This violation would make it difficult and

    dangerous for Plaintiff to exit/enter their vehicle.

(x) Near Unit 8800, the accessible parking space is missing a proper identification

    sign in violation of section 502.6 of the 2010 ADAAG standards. This

    violation would make it difficult for Plaintiff to locate an accessible parking

    space.

(xi)    Near Unit 8800, the ground surfaces of the access aisle have vertical rises

    in excess of ¼ (one quarter) inch in height, are not stable or slip resistant, have

    broken or unstable surfaces or otherwise fail to comply with Section 302 and

    303 of the 2010 ADAAG standards. This violation would make it dangerous

    and difficult for Plaintiff to access the units of the Property.

(xii)   Near Unit 8800, the Property has an accessible ramp leading from the

    accessible parking space to the accessible entrances with a slope exceeding

    1:12 in violation of section 405.2 of the 2010 ADAAG standards. This

    violation would make it dangerous and difficult for Plaintiff to access the units

    of the Property.

(xiii) Near Unit 8800, the Property has an accessible ramp that lacks finished

    edges or edge protection and/or is otherwise in violation of section 405.9 of the

    2010 ADAAG standards. This violation would make it difficult for Plaintiff to

    access the units of the Property.

(xiv) There are changes in level in the Property exceeding ½ (one-half) inch that

    are not accessible ramped in violation of section 303.4 of the 2010 ADAAG

                                        10
 Case 5:20-cv-00966-OLG Document 1 Filed 08/18/20 Page 11 of 16




   standards. Specifically, there is an approximately 2 (two) inch gap at the

   accessible entrance to Unit 8818 that creates an excessive vertical rise at the

   accessible to this unit of the Property, thus rendering the interior of this unit, at

   best, dangerously accessible, at worst, totally inaccessible. This violation

   would make it dangerous and difficult for Plaintiff to access the units of the

   Property.

(xv)   The accessible entrance to Unit 8818 has a doorway that is not level and in

   violation of section 404.2.4 of the 2010 ADAAG standards. This violation

   would make it difficult for Plaintiff to access this Unit.

(xvi) Due to the vertical rise exceeding 1 ½ inch at the accessible entrance to

   Unit 8818, there is not an accessible route inside to Unit 8818 in violation of

   section 206.2.4 of the 2010 ADAAG Standards. This violation would make it

   difficult for Plaintiff to access this Unit.

(xvii) Due to the vertical rise exceeding 1 ½ inch at the accessible entrance to

   Unit 8818 and the vertical rises exceeding ½ inch at at Units 88260, 8830,

   8840 and 8844, not all entrance doors and doorways comply with section 404

   of the 2010 ADAAG standards, this is a violation of section 206.4 of the 2010

   ADAAG standards. This violation would make it difficult for Plaintiff to

   access this Unit.

(xviii) Near Unit 8830, there is one accessible parking space that does not have a

   properly marked access aisle in violation of section 502.3.3 of the 2010

   ADAAG standards in that it is missing. This violation would make it

                                       11
 Case 5:20-cv-00966-OLG Document 1 Filed 08/18/20 Page 12 of 16




   dangerous and difficult for Plaintiff to access the accessible entrances of the

   Property.

(xix) Near Unit 8830, there is one accessible parking space has a slope in excess

   of 1:48 in violation of section 502.4 of the 2010 ADAAG standards and is not

   level. This violation would make it dangerous and difficult for Plaintiff to exit

   and enter their vehicle while parked at the Property.

(xx)   Near Unit 8830, due to the lack of an access aisle, when a vehicle is parked

   next to the accessible parking space, the accessible parking space lacks an

   accessible route from accessible parking space to the accessible entrances of

   the Property in violation of section 208.3.1 of the 2010 ADAAG standards.

   This violation would make it difficult for Plaintiff to access the units of the

   Property.

(xxi) At Units 88260, 8830, 8840 and 8844, the accessible entrances have a

   doorway with a vertical rise in excess of ½” (one half) in violation of section

   303.2 of the 2010 ADAAG standards. This violation would make it dangerous

   and difficult for Plaintiff to access the units of the Property.

(xxii) Near Unit 8850, the accessible parking space is missing a proper

   identification sign in violation of section 502.6 of the 2010 ADAAG standards.

   This violation would make it difficult for Plaintiff to locate an accessible

   parking space.

(xxiii) Near Unit 8850, there is one accessible parking space that does not have a

   properly marked access aisle in violation of section 502.3.3 of the 2010

                                      12
        Case 5:20-cv-00966-OLG Document 1 Filed 08/18/20 Page 13 of 16




            ADAAG standards. This violation would make it dangerous and difficult for

            Plaintiff to access the accessible entrances of the Property.

      (xxiv) Near Unit 8850, there is one accessible parking space has a slope in excess

            of 1:48 in violation of section 502.4 of the 2010 ADAAG standards and is not

            level. This violation would make it dangerous and difficult for Plaintiff to exit

            and enter their vehicle while parked at the Property.

      (xxv) Near Unit 8850, due to the lack of an access aisle, when a vehicle is parked

            next to the accessible parking space, the Property lacks an accessible route

            from this accessible parking space to the accessible entrances of the Property in

            violation of section 208.3.1 of the 2010 ADAAG standards. This violation

            would make it difficult for Plaintiff to access the units of the Property.

      (xxvi) The Property lacks an accessible route from the public sidewalk to the

            accessible entrances in violation of section 206.2.1 of the 2010 ADAAG

            standards. This violation would make it difficult for Plaintiff to access the units

            of the Property.

      (xxvii) Defendant fails to adhere to a policy, practice and procedure to ensure that

            all facilities are readily accessible to and usable by disabled individuals.

      32.      The violations enumerated above may not be a complete list of the barriers,

conditions or violations encountered by Plaintiff and/or which exist at the Subway and

Property.

      33.      Plaintiff requires an inspection of Subway and Property in order to

determine all of the discriminatory conditions present at the Subway and Property in

                                               13
        Case 5:20-cv-00966-OLG Document 1 Filed 08/18/20 Page 14 of 16




violation of the ADA.

       34.    The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried out

without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42 U.S.C. §

12181(9); 28 C.F.R. § 36.304.

       35.    All of the violations alleged herein are readily achievable to modify to

bring the Subway and Property into compliance with the ADA.

       36.    Upon information and good faith belief, the removal of the physical barriers

and dangerous conditions present at the Subway and Property is readily achievable

because the nature and cost of the modifications are relatively low.

       37.    Upon information and good faith belief, the removal of the physical barriers

and dangerous conditions present at the Subway and Property is readily achievable

because Defendants have the financial resources to make the necessary modifications.

       38.    Upon information and good faith belief, the Subway and Property have

been altered since 2010.

       39.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

       40.    Plaintiff is without adequate remedy at law, is suffering irreparable harm,

and reasonably anticipates that he will continue to suffer irreparable harm unless and

until Defendant is required to remove the physical barriers, dangerous conditions and

ADA violations that exist at the Subway and Property, including those alleged herein.

                                            14
        Case 5:20-cv-00966-OLG Document 1 Filed 08/18/20 Page 15 of 16




      41.    Plaintiff’s requested relief serves the public interest.

      42.    The benefit to Plaintiff and the public of the relief outweighs any resulting

detriment to Defendant.

      43.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees and

costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      44.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to grant

injunctive relief to Plaintiff, including the issuance of an Order directing Defendant to

modify the Subway and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)    That the Court find Subway in violation of the ADA and ADAAG;

      (b)    That the Court issue a permanent injunction enjoining Defendant from

             continuing their discriminatory practices;

      (c)    That the Court issue an Order requiring Defendant to (i) remove the

             physical barriers to access and (ii) alter the subject Subway to make it

             readily accessible to and useable by individuals with disabilities to the

             extent required by the ADA;

      (d)    That the Court award Plaintiff his reasonable attorneys' fees, litigation

             expenses and costs; and

      (e)    That the Court grant such further relief as deemed just and equitable in light

             of the circumstances.

                                          Dated: August 18, 2020.

                                          Respectfully submitted,

                                             15
Case 5:20-cv-00966-OLG Document 1 Filed 08/18/20 Page 16 of 16




                            /s/ Dennis R. Kurz
                            Dennis R. Kurz
                            Attorney-in-Charge for Plaintiff
                            Texas State Bar ID No. 24068183
                            Kurz Law Group, LLC
                            4355 Cobb Parkway, Suite J-285
                            Atlanta, GA 30339
                            Tele: (404) 805-2494
                            Fax: (770) 428-5356
                            Email: dennis@kurzlawgroup.com




                              16
